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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                   MARTINSBURG

  RANDOLPH DENNIS HUTCHENS, II,
      Petitioner,

 v.                                                      CIVIL ACTION NO. 3:05CV113
                                                         CRIM. ACTION NO. 3:00CR29-5
                                                         (BROADWATER)

 UNITED STATES OF AMERICA,
      Respondent.


                   ORDER ADOPTING REPORT AND RECOMMENDATION

          On this day the above styled case came before the Court for consideration of the Report and

 Recommendation of Magistrate John S. Kaull (Doc. No. 197), dated April 25, 2006, and petitioner’s

 corresponding objections (Doc. No. 198), filed May 4, 2006. Pursuant to 28 U.S.C. § 636(b)(1),

 this Court conducted a de novo review of the above. As a result, the Court is of the opinion that the

 Magistrate Judge’s Report and Recommendation (Doc. No. 197) should be, and is hereby,

 ORDERED adopted.

          The Court further ORDERS that petitioner’s § 2255 motion (Doc. No. 192) be DENIED and

 DISMISSED WITH PREJUDICE based on the reasons set forth in the Magistrate Judge’s Report

 and Recommendation. Accordingly, this action shall be STRICKEN from the active docket of this

 Court.

          The Clerk is directed to transmit true copies of this Order to the petitioner and all counsel of

 record herein.

          DATED this 20th day of October, 2006.



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